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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,

                 v.                                                  No. 09 CR 669-14
                                                                   Judge James B. Zagel
JESUS MEDRANO.

                         MEMORANDUM OPINION AND ORDER

         The defendant seeks a reduced sentence, but because of the large quantity of cocaine

involved, this cannot occur.

         Where application of the pertinent amendment does not result in a different sentencing

range, no reduction of sentence may occur. See, e.g., United States v. Brown, 559 Fed. Appx. 580

(7th Cir. 2014) (no reduction because defendant was sentenced under the career offender

guideline); United States v. Williams, 694 F.3d 917, 918 (7th Cir. 2012) (same); United States v.

Griffin, 652 F.3d 793, 803 (7th Cir. 2011) (same); United States v. Forman, 553 F.3d 585, 589-

90 (7th Cir. 2009) (same).

         This limitation is a straightforward application of the statutory text: Section 3582(c)

applies only to defendants who were “sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered” by a retroactive amendment. § 3582(c)(2).

         Specifically, here, the drug quantity involved in the offense was so large that the

defendant’s base offense level remains a Level 38, even under the new drug quantities listed in

Guideline § 2D1.1(c). The new quantity of cocaine required for a Level 38 is 450 kilograms, and

the defendant admitted in his plea agreement that his offense involved at least 2,400 kilograms of

cocaine: “For example, from 2003 to 2004, MEDRANO delivered approximately 50-100

kilograms of cocaine, approximately twice per month, to member of the Flores DTO, including



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Cesar Perez, Jorge Llamas and Antonio Aguilera.” R. 228 at p. 3. See Presentence Report at 7.

Fifty kilograms, delivered twice per month for 24 months, equals 2,400 kilograms of cocaine.

Therefore, Defendant’s Guidelines range is unaffected by the amendment and his sentence will

remain the same.

         Defendant’s motion for reduction of sentence is denied.

                                                   ENTER:




                                                   James B. Zagel
                                                   United States District Judge

DATE: May 24, 2016




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